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                  EXHIBIT B-120
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                                                                           FILEDINOFFICE

                   IN THE FULTON COUN1Y SUPERIOR COURT
                             STATE OF GEORGIA

IN RE SUBPOENAS FROM MAY 2022                    )     Case No.
SPECIAL PURPOSE GRAND JURY                       )     2022-EX-000024

SUBPOENAS ISSUED TO: Presidential Nominee Electors Mark Amick, Joseph
Brannan, Brad Carver, Vikki Consiglio, John Downey, Carolyn Fish, Kay Godwin, Cathy
Latham, David Shafer, Shawn Still, CBYadav

        ELECTOR NOMINEES' OPPOSITION TO STATE'S MOTION TO
                      DISQUALIFY COUNSEL

      NOW COME the eleven above-referenced Republican elector nominees, by and

through their counsel, and oppose the Fulton County District Attorney Office's ("FCDA")

Motion to Disqualify Counsel, showing this Court as follows:

                                   INTRODUCTION

      The presumption of innocence "lies at the foundation of the administration of our

criminal law." Coffin v. United States, 156 U.S. 432,453 (1895). In Georgia, an individual

is presumed innocent until he or she is tried and convicted. Vanderford v. Brand, 126

Ga. 67 (1906); see also O.C.G.A. § 16-1-5 ("Every person is presumed innocent until

proved guilty.")

       Here, the eleven nominee electors have not been charged with any crime. They are

not criminal defendants - they are presumptively innocent citizens. Indeed, the Special·

Purpose Grand Jury ("SPGJ"), which has no authority to indict but only to issue a report

of recommendations to the FCDA, has not yet even issued its report as to-whether and

what charges it might recommend against anyone, including the nominee electors. And,

if the actual law and the facts are presented to the SPGJ and are allowed to have any sway,

the SPGJ will inevitably conclude that none of the nominee electors violated any statutes

and cannot, therefore, ever be charged with any crimes. As set forth in the nominee



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electors' Motion to Quash and Disqualify (attached hereto as Exhibit A), they cannot

have and did not commit any crime as a matter•oflaw and fact.

                      Despite these facts and the presumption of innocence that the nominee electors

constitutionally enjoy, the FCDAhas taken the unusual, perhaps unprecedented, step of

trying to forcibly separate the nominee electors from their chosen counsel at this

preliminary investigatory stage based entirely upon the FCDA's presumption of their

guilt and its conjecture and speculation as to what issues might arise if a whole series of

events that have not yet occurred and may never occur come to pass.

                      Specifically, the FCDApresumes as a fundamental underpinning of its Motion that

some or all of the jointly represented nominee electors committed a crime and that some

or all of them are, therefore, in a position to provide incriminating information against

each other.

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                      Speculation and conjecture, however, are insufficient bases for the FCDA to even

have standing, much less to justify disqualification. See, e.g., Lewis v. State, 312 Ga. App.

275, 289-90                                      (2011) (overruling disqualification as an abuse of discretion when "the case

for disqualification consist[ed] of one conjecture piled upon another" and the court was

aware of no decision of any other court disqualifying counsel in a criminal matter on this

basis); see also Schaff v. State, 304 Ga. App. 639, 642(1) (2010) (speculation cannot


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support disqualification); Life Care Centers of America v. Smith, 298 Ga. App. 739,

745(3) (2019) (absence of evidence of wrongdoing by counsel, "[b]eyond conclusory

allegations," does not justify disqualification); Clough v. Richelo, 274 Ga. App. 129, 135-

136(1)(b) (2005) (mere speculation is no basis for disqualification). As importantly, the

speculation and conjecture upon which the FCDA's Motion is based is not just

unsubstantiated,   it is simply wrorig, and many of the necessary factual predicates

necessary to the FCDA's analysis have not and may never occur.

       In particular, none of the jointly represented clients committed any crime (and

they are certainly constitutionally entitled to the presumption of innocence at this stage).

Additionally, each jointly represented elector has repeatedly affirmed to their counsel that

they did not engage in any criminal activity and that they have no knowledge of any of the

other jointly represented nominee electors engaging in any criminal act or activity. So,

even if one or more of the jointly represented nominee electors were to

provide truthful testimony to the SPGJ or in any other proceeding, that testimony would

not be adverse to any other nominee elector who is currently in the joint representation.

At worst, the testimony would,be neutral, and, more likely, it would be exculpatory to the
            I

hypothetically indicted nominee elector(s). 1

       In making these incorrect foundational assumptions, the FCDNs Motion ignores

the actual footing on which this investigation stands, which is quite different than the

typical case that the FCDAinvestigates and prosecutes. In a typical case, a known crime

has undisputedly been committed, but the facts of what occur"red and who committed




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which aspects of the crime are unknown. The job of the investigators and the FCDA in

such a case is to determine who committed the crime, often by offering immunity or plea

deals to those who the investigation reveals were present or involved and can provide

incriminating evidence.

        Here, the FCDA is conducting an original investigation, meaning that it has not

been established that any crime has occurred, and the jointly represented nominee

electors vigorously reject the characterization of their conduct as in any way criminal as a

matter of both law and fact. See Exhibit A. Additionally, unlike more typical cases, this

investigation is not one in which the operative facts are unknown or unclear: on advice

of counsel, the Georgia Republican nominee presidential electors executed their

provisional ballots on December 14, 2020 to preserve the State of Georgia's right to have

presidential electoral ballots if the then-pending judicial challenge to the presidential

election were successful. There is no mystery here - the Republican nominee electors

took these actions in public, as broadcast by the news media, and they made public,

contemporaneous statements to the media and on social media as to exactly what they

had done and exactly why they did so. The dispute in this case is not about what the

Republican nominee electors did or even why they did it, 2 but instead whether their

undisputed actions constitute a crime. They do not.

        As previously established (see Exhibit A), the nominee electors' actions are not

and cannot be criminal as a matter of both law and fact. To the extent the FCDApersists

in wrongly claiming otherwise, those legal matters will be fought out in the state and


2
 The FCDA's motion intimates, but does not outright say, that Mr. Shafer and perhaps others in the Georg1a
GOP leadership are differently situated than the other Republican nominee electors because they were
supposedly privy to plans to which the others were not. These intimations are entirely baseless, as addressed
in detail in Footnote 21.



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perhaps federal courts. But the key dispute here, unlike in a more typical case, is not who

committed what portion of a known crime - instead, it is whether the known, public

actions of this group of nominee electors can possibly be considered a crime. And because

of this different context, the FCDA's assumption t9-at the jointly represented nominee

electors can "flip" on each other or otherwise provide incriminating information as to any

other jointly represented elector is simply inaccurate, as well as legally insufficient.

       When the issues raised in the Motion are properly framed, the FCDA has no

legitimate basis to seek disqualification of counsel for the jointly represented electors.

Precedent from the Georgia courts and the U.S. Supreme Court establish that, under the

facts of this case, there is no actual or potential conflict of interest, and certainly no

disqualifying conflict.

       The FCDAcites only two cases to support its disqualification demand, and both of

those cases address disqualification from an attorney's post-indictment representation of

a defendant in trial where Sixth Amendment. See Heidt v. State, 292 Ga. 343 (2013)

(disqualifying attorney assisting lead counsel in defense from representing defendant at

trial based on need to protect Sixth Amendment right to conflict-free counsel when

attorney simultaneously represented witness who government called to provide

incriminating testimony against defendant); Edwards v. State, 336 Ga. App. 595 (2016)

(disqualifying attorney from represented defendant based on Sixth Amendment right fo

conflict-free counsel at trial when attorney had not properly obtained informed consent

waiving the conflict from both the former client who was to testify at trial and the

defendant).    The FCDA has provided no Georgia case disqualifying counsel from

representing multiple clients at the grand jury or pre-indictment stage, and counsel's

research has revealed none - and this makes sense. At this preliminary stage, unlike post-


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indictment and in a trial, the events necessary to even raise the possibility of a potentially

disqualifying conflict of interest have not yet occurred and may never (and in this case,

should never) occur. Additionally, at this stage, the judicial system's duty to protect a

defendant's Sixth Amendment right to counsel has not yet been triggered.

        Even when individuals have been indicted and are facing trial, however, Georgia

courts and the U.S: Supreme Court, recognizing how disruptive and prejudicial

interference with a person's choice of counsel is, have approached demands for

disqualification, especially from opposing counsel, with great skepticism and caution and

have generally refused to disqualify chosen counsel absent a substantial,· actual, and

substantiated conflict that has not been knowingly and intelligently waived. Nothing

approaching such a disqualifying conflict exists, especially at this stage in the criminal

investigatory process, and all of the jointly represented. clients have knowingly and

intelligently consented to the joint representation.s At this point, no disqualifying conflict

exists, and each client (some with the advice of independent counsel) has executed a

robust informed consent. For all of these reasons, and for the reasons set forth herein,

the FCDA's Motion should be denied.

                     ARGUMENT AND CITATION OF AUTHORITY

        The right to counsel is "an important interest which requires that any curtailment

of the client's right to counsel of choice be approached with great caution." Bernacchi v.

_Forcucci, 279 Ga. 460, 462 (2) (2005); see also Padgett v. Collins Mobile Home Sales,




3 Additionally, counsel has an ongoing obligation to assess conflicts of interest and potential conflicts of
interest throughout the duration of their representation, and should facts and circumstances change or
evolve that raise an actual or potential conflict, counsel has the obligation to raise that issue with their
clients and ensure that conflict issue is appropriately addressed, through declining continuing or agreeing
to adqitional future representation or by securing, if appropriate, additional informed consent.


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Inc., 357 Ga. App. 30, 32 (2020) (same); Lewis, 312 Ga. App. at 283 (same); Blumenfeld

v. Borenstein, 247 Ga. 406, 408 (1981) (same). Disqualification "has an immediate

adverse effect on the client by separating him [or her] from counsel of his [or her] choice."

Bernacchi, 279 Ga. at 462 (2); see also Pddgett, 357 Ga. App. at 32 (same); Lewis, 312 Ga.

App. at 283 (same); Blumenfeld, 247 Ga. at 408 (same).                    When chosen counsel is

disqualified, it works a "unique hardship" on the client whose lawyer has been disqualified

though the loss of time and money in finding new counsel and "the benefit of its counsel's

specialized knowledge of [the client's circumstances]."              Lewis, 312 Ga. App. at 282

(citations omitted).4 "[L]awyers are not fungible, swapping one lawyer for another is not

without great consequence, and the choice of a lawyer in some cases may, effectively,

decide the outcome for the client."              Id. at 280 n. 8.        For. all of these reasons,

disqualification of chosen counsel is an "extraordinary remedy and should be granted

sparingly." Bernacchi, 279 Ga. at 462 (2) (emphasis added).s

        Even when a case progresses to the indictment and/ or trial stage, which this

investigation has not and may never, the attorneys jointly representing multiple

defendants in a criminal matter are presumed to have executed their ethical obligations

with regard to conflicts of interest because they "[are] in the best position professionally

and ethically to determine when a conflict of interest exists or will probably d_evelopin the

course of a trial." Burns v. State, 274 Ga. App. 687, 689 (2005). Courts must "cast a

skeptical eye toward motions to disqualify counsel of choice because parties often move

for disqualification of opposing counsel for tactical reasons." Lewis, 312 Ga. App. at 283


4 Because of the hardships caused by disqualification, "motions to disqualify should be made with
reasonable promptness after a party discovers the facts which lead to the motion." Zelda Enterprises, LLP
v. Guarino, 343 Ga. App. 250, 253-54 (2017).
s See also Padgett, supra; Lewis, supra ; Blumenfeld, supra.



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(citations omitted); see also Comment 15 to Ga. R. Profess. Conduct 1.7 ("Resolving

questions of conflict of interest is primarily the responsibility of the lawyer undertaking

the representation ....     Where the conflict is such as clearly to call into question the fair

or efficient administration of justice, opposing counsel may properly raise the question.

Such an objection should be viewed with caution, however, for it can be misused as a

technique of harassment.") (emphasis added). Indeed, a lawyer does not have standing

to file a motion to disqualify against their opposing counsel unless the moving lawyer can

substantiate "a violation of the rules which is sufficiently severe to call in question the fair

and efficient administration of justice."            Cohen v. Rogers, 338 •Ga. App. 156, 166

(2016) (quoting Bernacchi, 279 Ga. at 463 (2)) (vacating disqualification order because

trial court applied the wrong standard to determine if counsel had a conflict of interest in

simultaneously representing individual and two corporations)).

        The party seeking to disqualify counsel has the burden to substantiate that the

extraordinary remedy of disqualification is warranted.                   Lewis, 312 Ga. App. at 283

(citations omitted). To satisfy this burden, the moving party must establish an actual

conflict or an actual impropriety. See Blumenfeld, 247 Ga. at 409-410 (mere appearance

of impropriety not based on actual conflict insufficient ground for disqualification);

Georgia     Trails     & Rentals,       Inc.    v.       Rogers,   359     Ga. App.      207,      213-14

(2021), reconsideration denied (Mar. 30, 2021), cert. denied (Sept. 8, 2021) (same). 6


6 Some Georgia Court of Appeals cases suggest, as the FCDA has argued, that disqualification can also be
based upon a "serious potential for conflict," see, e.g., Edwards, 336 Ga. App. at 599-60, although their
ultimate decisions do not rely upon such potential conflict as the basis of their holdings. The Court of
Appeals has more recently noted that this position is inconsistent with the Georgia Supreme Court's
pronouncement in Blumenfeld. In Georgia Trails, the Court of Appeals noted as follows:
        The appellants repeatedly refer to 'potential' conflicts in this circumstance, but our
        Supreme Court has held that absent an actual conflict of interest or actual impropriety,
        the trial court does not abuse its discretion in denying a motion to disqualify counsel.



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        Even where a party has standing to move for disqualification and is able to satisfy

their burden to prove an actual conflict or impropriety, such conflicts can generally be

waived by the jointly represented clients through informed consent.7 As counsel for the

jointly represented nominee electors previously informed the Court and the FCDA,

counsel has scrupulously followed the requirements of Rule 1.7 and the other applicable

Georgia Rules of Professional Responsibility in disclosing all of the necessary information

to the jointly represented clients in writing, ensuring that they understood that

information, encouraging them to seek the review of independent counsel (which some


        See Blumenfeld v. Borenstein, 247 Ga. 406, 409-410, 276 S.E.2d 607 (1981) (mere
        appearance of impropriety not based on actual conduct is an insufficient ground for
        disqualification). Likewise, as the appellees note, the father was included on the special
        verdict form for the allocation of fault. Consequently, there is no evidence of harm.
        See Kamara v. Henson, 340 Ga. App. 111,116 (2), 796 S.E.2d 496 (2017) ("affirm[ing] the
        denial of [the appellant's] motion to disqualify Defense Counsel, because there is no actual
        conflict of interest or actual impropriety")                                         •
359 Ga. App. at 214. Additionally, this position is at odds with Rule 1.7(a), which recognizes that a
disqualifying conflict only exists when there is a "significant risk that the lawyer's own interests or the
lawyer's duties to another client ... will materially and adversely affect the representation of the client," see
Lewis, 312 Ga. App. at 289-90 (quoting Ga. R. Prof. Conduct 1.7) (emphasis in the original), and with
Comment 2 to Rule 1.7, which provides as follows:
        Loyalty to a client is impaired when a lawyer cannot consider, recommend or carry out an
        appropriate course of action for the client because of the lawyer's other competing
        responsibilities or interests. The conflict in effect forecloses alternatives that would
        otherwise be available to the client. Paragraph (a) addresses such situations. A possible
        conflict does not itself preclude the representation. The critical questions are the likelihood
        that a conflict will eventuate and, if it does, whether it will materially interfere with the
        lawyer's independent professional judgment in considering alternatives or foreclose
        courses of action that reasonably should be pursued on behalf of the client. Consideration
        should be given to whether the client wishes to accommodate the other interest involved.
This Court need not resolve this potential discrepancy, however, because,, as set forth herein, no serious
potential for conflict exists in this investigation, particularly at this stage, and the eleven nominee electors
have knowingly and i.ntelligently waived any such conflicts.
7 Under Rule 1.7(c), a conflict is not waivable only when (1) it is prohibited by law or these rules; or (2)
includes the assertion of a claim by one client against another client represented by the lawyer in the same
or substantially related proceeding; or (3) involves circumstances rendering it reasonably unlikely that the
lawyer will be able to provide adequate representation to one or more of the affected clients. None of these
circumstances are present here. Waiver is not prohibited by the rules; indeed, it is contemplated by them.
See Rule 1.7(b) and Comment 2. As discussed herein, no client has or can made any claim against another
client. And nothing suggests, much less establishes, that counsel cannot provide adequate representation
to all of the affected clients, particularly at this investigatory stage and under these specific facts.




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did), and then make a informed, individual decision as to whether to continue in the joint

representation. Each client individually insisted upon staying in the joint representation,

and each executed a written informed consent memorializing this informed choice.

        Under these facts, the FCDA lacks standing to bring its Motion. Even if it had

standing, however, it has not met and cannot meet its burden to substantiate any

disqualifying conflict of interest and has not provided any applicable authority that such    _

conflicts could not be waived, especially at this pre-indictment, investigatory stage.




Georgia law is clear that such improper assumptions and speculation fall well short of the

showing necessary to justify the "extraordinary remedy" of disqualification, which the

Georgia courts have repeatedly cautioned should be "granted sparingly."

   I.      The FCDA Lacks Standing to Move for Disqualification.

        Under Rule 1.7(b), the onus of identifying and remediating any conflict in joint

representation is on the lawyer(s) undertaking the representation because they are in the

best position to do so. Burns, 274 Ga. App ..at 689; Rule 1.7 cmt. 15. "For an attorney to

have standing to raise the issue of an opposing lawyer having a conflict of interest in

simultaneously representing multiple plaintiffs or defendants, there must be a violation

of the rules which is sufficiently severe to call in question the fair and efficient

administration of justice" and the party seeking disqualification "must provide

substantiation." Bernacchi, 279 Ga. at 463 (citations omitted) (emphasis added). An

objection from opposing counsel "should be viewed with caution           . . . . for it can




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be misused as a technique of harassment." Id. at 460; Ga. St. Bar R. 4-102(d):1.7, cmt.

15; see also Lewis, supra, at 283. 8

                             Here, the FCDA has not alleged or substantiated any actual violation of the rules,

and it necessarily has not met its threshold burden to substantiate a violation that is

"sufficiently severe to call in question the fair and efficient administration of justice."

Bernacchi, 279 Ga. at 463. Instead, the FCDAbases its Motion entirely on its speculation

about the possibility of a future conflict arising out of a series of inaccurate and

unsupported assumptions: (1) that criminal charges will ultimately be filed against any

of the jointly represented elector nominees; (2)


.....
  ,                ,.. ,;.        "   ,,.   ..       .. . '   .   ,. ...
                                                                           ; (3) that current counsel would represent any or all jointly
        ..,   "'             ,.   '    #         "




represented nominee elector at any future trial; (4)



                                                                                                   and (5) that any potential conflicts

that might arise m the future should automatically be presumed to be material,

irreconcilable, and unwaivable now. 9




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           Speculation and conjecture, however, are not the required substantiation,

Bernacchi, supra, and they are insufficient bases for disqualification. See, e.g., Lewis,

supra; Schaff, supra; Life Care Centers of America, supra; Clough, supra. As

importantly, as established in greater detail herein, the speculation and conjecture upon

which the FCDAMotion is based is not just unsubstantiated, it is simply wrong, and many

of the events relied upon by the FCDAhave not and may never occur. 10

           To have standing to even seek to disqualify a citizen's chosen counsel, thereby

causing undue hardship and prejudice, including the loss of time, money, and the benefit

of said counsel's specialized knowledge about the case, the FCDA was required under

Georgia law to offer more than its own conclusory assertions and rely on more than its

speculation and conjecture that a conflict may exist or arise in the future. The FCDAhas •

failed to carry that burden, and it therefore lacks standing to bring this Motion.

     II.      Georgia and Federal Law Protect The Eleven Nominee· Electors
              From Being Separated From Their Chosen Counsel.
                                                                                    1:,·


           In Section II.A. of its Motion, the FCDA argues that the Court has greater leeway

to separate the nominee electors from their chosen counsel because the nominee electors'

Sixth Amendment right to counsel has not yet been triggered. The cases cited by the

FCDAin support of this position actually establish the opposite -- that individuals actually

have a right to counsel at the grand jury investigative stage; the citeq authority in no way

support the proposition that clients can be separated from their chosen, priyately engaged



10 The FCDA also relies on its "heightened ethical duty" as "ministers of justice" as the impetus for bringing • •
this motion. These heightened ethical duties, however, do not excuse the FCDAfrom the requirement that
it must substantiate "a violation of the rules which is sufficiently severe to call in qilestion the fair and
efficient administration of justice" to have standing. If anything, their heightened ethical duties as
ministers of justice should have led them to refrain from trying to strip 11 presumptively innocent citizens
of their chosen counsel based solely on speculation and conjecture, which they should know is wholly
insufficient under Georgia law, or as a tactic, which is improper under the Rules.


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counsel at the grand jury stage of an investigation. Indeed, neither case involves an effort

by the government to disqualify or involuntarily separate grand jury witnesses from their

chosen counsel, and neither case relates to the disqualification analysis applied by

Georgia courts in all cases in which a disqualifying conflict is alleged.

       Specifically, in United States v. Mandujano, the Supreme Court explicitly noted

that a witness called to the grand jury was entitled to the assistance of counsel, but that

the witness could not insist that his counsel be permitted to go into the grand jury room

with him pursuant to Fed. R. Crim. P 6(d). 425 U.S. 564, 581 (1976). In particular, the

Supreme Court stated

       Respondent was also informed that if he desired he could have the
       assistance of counsel, but that counsel could not be inside the grand jury
       room. That statement was plainly a correct recital of the law. No criminal
       proceedings had been instituted against respondent, hence the Sixth
       Amendment right to counsel had not come into play. Kirby v. Illinois, 406
       U.S. 682, 92 S. Ct. 1877, 32 L.Ed.2d 411 (1972). A witness 'before a grand
       jury cannot insist, as a matter of constitutional right, on being represented
       by his counsel ... .' In re Graban, supra, 352 U.S., at 333, 77 S. Ct., at 513, 1
       L.Ed.2d, at 380. 6 Under settled principles the witness may not insist upon
       the presence of his attorney in the grand jury room. Fed. Rule Crim. Proc.
       6(d).'')

Id. at 581 (emphasis added). Footnote 6 in that passage specifically clarifies that the right

to counsel in this context is rooted in the Fifth Amendment, not the Sixth Amendment:

"The right to counsel mandated by Miranda was fashioned to secure the suspect's Fifth

Amendment privilege in a setting thought inherently coercive. The Sixth Amendment was

not implicated." Id. at 581 n. 6. In short, Mandujano affirms the right to assistance of

counsel at the grand jury stage of an investigation, it simply clarifies that the right is a




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Fifth Amendment, not Sixth Amendment, right to counsel and that the right to assistance

of counsel does not include having counsel present in the grandjury. 11

        The FCDA's reliance on the Eleventh Circuit's decision in United States v. Gaddy

fares no better. In Gaddy, a witness voluntarily testified in the grand jury after being

informed that his attorney was unavailable and after being advised by the prosecutor that

he need not answer questions that would incriminate him and that he had the right to

consult with legal counsel before testifying. The witness proceeded to testify, and the

Eleventh Circuit held that he had, therefore, voluntarily waived any right to counsel he

enjoyed. United States v. Gaddy, 894 F.2d 1307, 1314-15 (nth Cir. 1990). 12

         Here, the nominee electors have made no request to have their lawyers present in

the grand jury, and the issue of their voluntary waiver of their right to counsel is obviously

not at issue. To the extent any principles relevant to this matter can be distilled from

Mandujano and Gaddy, it is that individuals called before the grand jury have a right to

be represented by and consult with counsel outside the grand jury room, not the opposite.

The FDCA "allowing" witnesses appearing before the SPGJ to consult with their counsel

(or, in their view, to be represented by counsel at all) is not a mere courtesy; it is the

witnesses' right.



 11
    The citation by the Supreme Court to In re Graban further clarifies that the Court was addressing a grand
jury witness's right to have their counsel present in the grand jury, as that was the very issue in In re Graban.
12 The Eleventh Circuit mentions in dicta that "[t]his Court has not decided whether a constitutional right

to counsel exists during the course of a grand jury proceeding," but noted that it had presumed without
deciding the existence of such a right in United States v. Olmeda, 839 F.2d 1433, 1437 (nth Cir.1988).
Gaddy, 894 F.2d at 1314-15. The Gaddy court also noted that the Supreme Court in Mandujano had stated
that there was no Sixth Amendment right to counsel at that stage but that the witness in that case had been
informed of his right to consult with counsel outside the grand jury. Id. The Eleventh Circuit did not
address the Supreme Court's specific invocation of the right to counsel under the Fifth Amendment in
Footnote 6 of Mandujano, either because it overlooked the same or because the existence of the
constitutional right to counsel at the grand jury stage was not ultimately material to its holding that any
right to counsel had been voluntarily waived.


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        More importantly, regardless of any constitutional guarantee to counsel the

nominee electors have at this stage, they are certainly free to hire legal counsel for any

purpose they deerp necessary in any context, as they have done here. The issue presented ,

here is not their right to counsel, but instead whether the FCDAhas standing to attempt

to strip them of their chosen counsel and whether, if so, it has met its heavy burden to

overcome the presumption against disqualification of chosen counsel.                          Under clear

Georgia law, the answer to both of those questions is no.

        To answer these questions, Georgia courts look to the established body of Georgia

law on what must be established before any individual in any context can be separated

from their chosen, privately engaged counsel, which is in no way dependent upon or

tethered to whether a constitutional right to counsel is implicated. Indeed, Georgia courts

routinely recognize the right to retain chosen counsel even in civil cases, where the Fifth

and Sixth Amendments will never be implicated, and the courts engage in the same

rigorous analysis disfavoring disqualification of chosen counsel in those cases as well as

in criminal cases.          See, e.g., Georgia Trails, 359 Ga. App. at 213-14 (applying

disqualification analysis in context of civil case, noting that disqualification is an

"extraordinary remedy" that severely prejudices the client separated from his or her

counsel and should only be "granted sparingly"); Padgett, 357 Ga. App. at 31-33 (same);

Zelda Enterprises, LLP v. Guarino, 343 Ga. App. 250, 250-54 (2017) (same). 13




'3 Such disqualificationsin the criminal context are granted even more sparingly because "the consequences
of an erroneous deprivation of the right to select counsel of choice in criminal prosecutions are severe. Such
an erroneous deprivation is a structural error, one that affects 'the framework in which the trial proceeds,'
and it requires an appellate court to reverse any conviction that follows without any inquiry into harm
or prejudice." Lewis, 312 Ga. App. at 283 (citations omitted) (emphasis added).


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          Thus, in all contexts where opposing counsel seeks the disqualification of their

opponent's counsel, Georgia courts apply the same disqualification principles and

analysis, which recognizes that the right to chosen counsel is an "important interest" and

the "extraordinary remedy" of disqualification of chosen counsel must be approached

with "great caution" and "granted sparingly." See, e.g., Bernacchi, 279 Ga. at 462 (2);

Padgett, 357 Ga. App. at 32 (same); Lewis, 312 Ga. App. at 283 (same); Blumenfeld, 247

Ga. at 408 (same). The FCDA's suggestion that this Court can or should apply a more

lenient analysis or has greater leeway to grant its motion based upon the FCDA's

misinterpretation and misapplication of Mandujano and Maddy is contrary to well-

established Georgia law, invites error, and should be rejected.

   III.      No Disqualifying Conflict Exists.

          In assessing alleged conflicts of interests, courts are encouraged to resist

"mechanically applying the rules for the disqualification of counsel" and instead to

consider the "facts peculiar to each case in balancing the need.to ensure ethical conduct

on the part oflawyers appearing before the court and other social interests, which include

the litigant's right to freely chosen counsel." Georgia Trails, 359 Ga. App. at 213. The

particular facts in this case establish that no disqualifying conflict exists and that stripping

the jointly represented nominee electors of their chosen counsel is unwarranted and

prejudicial.




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           A. When Unindicted Targets of a Criminal Investigation 14 Are
              Unified In Their Innocence and Their Potential Defenses to Any
              Future Charges Are Compatible and Synergistic, No Actual or
              Potential Conflict Exists.

       As the Georgia courts have noted, in almost every case in which one lawyer

represents co-defendants in a criminal proceeding, a conflict of interest is possible. See,

e.g., Burns, 281 Ga. at 339-40. Both the United States Supreme Court and Georgia
                                                                                    ',.


Supreme Court have affirmed, however, that multiple representation is permissible in the

absence of an actual conflict of interest and that such joint representation can be a

significant benefit when "a common defense ... gives strength against a common attack."

Id. at 339 (citing Cuyler v. Sullivan, 446 U.S. 335 (1980) and quoting Holloway v. State

of Arkansas, 435 U.S. 475 (1978)).

       Where, as here, targets' defenses are "synergistic rather than antagonistic,"

Shelnutt v. State, 289 Ga. App. 528, 529-30 (2008), where there is no "finger-pointing"

and the clients profess their collective innocence, Taylor v. State, 320 Ga. App. 596, 603

(2013) and Burns, 281 Ga. at 339, "representation by the same attorney [does] not give

rise to any conflict of interest, potential or actual." Shelnutt, 289 Ga. App. at 530. See

also, e.g., Tolbert v. State, 298 Ga. 147, 156-57 (2015) (noting that in many cases a

common defense gives strength against a common attack and finding no conflict in joint

representation of co-defendants at trial where their defenses were compatible); Lamb v.

State, 267 Ga. 41, 42 (1996) (no conflict of interest in jointly represented co-defendants

at trial because they presented a unified defense and did not incriminate each other);

Chandler v. State, 255 Ga. App. 11, 13 (2002) (no actual conflict of interest in joint



14 As the cases cited herein demonstrate, this same rule would apply even if the individuals were indicted

co-defendants, a stage that has not been reached in this process as yet.


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 representation at trial of co-defendants because defenses were compatible);Abernathy v.

• State, 278 Ga. App. 574, 585 (2006) (no conflict in joint representation at trial co--

 defendants' defenses were not antagonistic).

       The jointly represented nominee electors (and, presumably, all 16 of the

 Republican nominee electors) have made plain throughout this process that they are all

 innocent of wrongdoing, much less any criminal activity, and they have affirmed in

 writing that none of them are aware of any wrongdoing or criminal activity by any of the

 other nomiriee electors. Indeed, as set forth in some detail in their original Motion to

 Quash and Disqualify (Exhibit A), the actions taken by the Republican nominee electors

 are not and cannot be wrongful or criminal; instead, their actions were taken on advice of

 counsel, protected by both federal and state law, see Exhibit A at 10-18, and based on

 established precedent. Id. at 10-13. Indeed, executing dual provisional ballots to preserve

 rights during a judicial challenge to an election has been lauded as the proper and

 advisable action to take by Justice Stevens, Democrat Congresswoman Patsy Mink of

 Hawaii, and electoral college experts. Id. at 13-14. Viewed in this context, the continued

 suggestion that the nominee electors' actions were improper, much less criminal, is

 untethered to the facts and the law and is, candidly, absurd. Because they are united in

 their innocence, have no incriminating evidence to provide as to themselves or each other,

 and their defenses to any potential charges are compatible, not antagonistic, no actual or

 potential conflict exists. See Shelnutt, supra; Taylor, supra; Burns, supra; Tolbert,

 supra; Lamb, supra; Chandler, supra; Abernathy, supra.




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                                                                                                                                                            But, because of the FCDA's

inconsistent behavior with regard to the electors' status, the sudden (mis)labeling of them

as targets, and the incorrect narratives it continues to promote about the events of

December 14, 2020, any counsel representing the Republican nominee electors would be

remiss in not addressing these serious factual and legal disconnects that could lead to the




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FCDA wrongfully accusing these individuals of false statements or perjury simply for

telling the actual truth instead of the "truth" the FCDAapparently wants to hear.

      As importantly, the analysis as to conflicts of interest in joint representation in

Georgia (and according to the U.S. Supreme Court) turns not on whether there are

immaterial differences between the jointly represented clients' testimony or roles in the

alleged·criminal activity but instead on whether the jointly represented clierits' defenses

are aligned and synergistic. Here, each represented client is united with the other in their

defense of innocence, and they have each affirmed that they have no incriminating

information about themselves or any of the other jointly represented nominee electors.

As a result, their putative defenses to any eventual charge(s) that could be filed are

unified, aligned, and synergistic - none of the jointly represented nominee electors can

or would have to "point fingers" at the other or otherwise incriminate each other to pursue
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their own defense   .,..   '

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                                                                                    ..   . These facts nullify the possibility of

any actual or potential conflict of interest as a matter oflaw. See Shelnutt, supra; Taylor,

supra; Burns, supra; Tolbert, supra; Lamb, supra; Chandler, supra; Abernathy, supra.

       C. The FCDA's Speculation About Possible Future Conflicts of Interest
          Is Insufficient As a Matter of Law to Justify Disqualification.

                                                                                         the FCDA argues that if, after the

conclusion of the SPFG investigation one or more of the jointly represented electors is

indicted and if one of the jointly represented clients were immunized and if that

immunized client were called to testify as witness against a non-immunized indicted

client, this would create an unwaivable conflict of interest. Indeed, the Motion claims

(without citation to supporting authority and contrary to established Georgia law) that

the mere possibility of these potential events that have not yet occurred and may never



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occur create an actual unwaivable conflict now. But the long series of "ifs" in the FCDA's

Motion and the many events that would each have to occur before any even potential

conflict came to fruition belie this untenable assertion.

         Only if this entire series of events and several others 1s were to occur would the

potential conflict identified in the Motion even possibly become an actual conflict. See,

e.g., Burns, 274 Ga. App. at 690-91 (actual conflict requires more than a bare possibility

that a conflict will develop and ripens only when it would require counsel to slight one

client in favor of the other). At this stage, which is many steps back from this series of

events that would all have to occur before even the specter of a conflict could arise, there

is no actual conflict or actual impropriety permitting disqualification. See, e.g., Georgia

Trails, 359 Ga. App. at 214 (actual conflict or actual impropriety, not potential conflict,

required for disqualification); Rule 1.7, Comment 2 (potential conflict does not preclude

representation).

         Even if all of these events eventually were to occur and current counsel were hired

to represent any then-indicted nominee elector at trial, no actual disqualifying conflict

would prevent this hypothetical future representation in which a former client would be

called to testify if trial counsel would not have to use confidential information gained in

the context of the former representation of the immunized ·witness to cross examine him
     \

or her. 16 See, e.g., Perry v. State, 314 Ga. App. 575, 580-82 (2012) (outlining factors to


s In addition to the series of events identified by the FCDA that would have to occur before any potential
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conflict arose, the indicted client would have to attempt to hire Pierson Law or the Debrow Firm to represent
him or her in trial, counsel would have to agree to accept that representation, and the Georgia and/ or federal
courts would have to decline to dismiss the indictment pre-trial.
16 In its Motion, the FCDA speculates that "the body of information - including potentially incriminating

information and information that could be used for impeachment or otherwise to the disadvantage of a
former client - gained by Pierson and Debrow concerning each of their 11 clients ... is undoubtedly vast."
FCDAMotion at 15 (emphasis added). But this assertion is "purely conjectural, and conjecture is no reason



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be considered in assessing conflict in the context of cross-examining former client);

Rescigno v. Vesali, 306 Ga.App.610, 613(1) (2010) (fact that lawyer acquired general

information from a former client, and now represents another client adverse to the former

client, does not require disqualification in the absence of a reason to believe that

confidential information acquired from the first client would be of use to the second).

And, as the FCDA concedes, even if confidential information were involved, the current

client and the former client can waive, could waive (and, here, have waived) this conflict

through informed consent. See, e.g., Edwards, 336 Ga. App. at 599-60 (noting that to
                                     )




waive a conflict created by trial counsel's divided loyalties to her former and current

clients requires the informed consent of both the current and former client, which trial

counsel failed to obtain).17

        At this point, however, none of the numerous factual predicates that would be

required to occur before even the prospect of any conflict would loom have occurred, and

many are unlikely to ever occur. The SPGJ has not issued its report,



                                                                                    , no charges have been




to deprive Lewis of his counsel of choice." Lewis, 312 Ga. App. at 288-89 (collecting cases holding that
speculation is insufficient to support disqualification). Additionally, the assumption is simply wrong, as
explained in greater detail herein.
17 Like the Heidt decision discussed herein, the Edwards decision does not support the FCDA's request for

disqualification, certainly not at this stage. Like Heidt, the Edwards court analyzed its disqualification
decision in the context of the court's obligation to protect the defendant's Sixth Amendment right to
conflict-free counsel at trial, a right that the FCDAadmits is not implicated at this investigatory stage of the
proceedings. Edwards, 336 Ga. App. at 600 n. 4. Additionally, the deficiency in Edwards was not the
conflict of interest per se but the failure of the trial counsel to get a proper waiver from both his former
client and the defendant he was representing in trial. Id. at 599-600. Indeed, even in its citation to
Edwards in the Motion, the FCDAconcedes that this potential conflict is waivable wl).eninformed consent
is obtained from the current and former client. See FCDAMotion at 15. This process and information are
exactly what the jointly represented nominee electors have received and gone through in_this case in
executing their informed consent to the continued joint representation.        •


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brought, no counsel have been hired to represent any jointly represented client in any

such hypothetical criminal prosecution, no decision to call any of the jointly represented

clients to testify in any such putative trial can have been made, and so on. Only if all of

these events happened would counsel and perhaps the eventual trial court need to assess

whether an actual conflict has arisen and, ifso, whether it can be and has been waived.

       But the FCDA's uncertain and speculative parade of possibilities does not create

any actual conflict or impropriety justifying disqualification. See, e.g., Lewis, 312 Ga.

App. at 289-90       (overruling disqualification when "the case for disqualification

consist[ed] of one conjecture piled upon another"); Schaff, 304 Ga. App. at 642(1)

(speculation cannot support disqualification); Life Care Centers of America, 298 Ga.

App. at 745(3) (conclusory allegations of wrongdoing by counsel does not justify

disqualification); Clough, 274 Ga. App. at 135-136(1)(b) (mere speculation no basis for

disqualification): And in the light of the fact that the jointly represented electors are

unified in their innocence, cannot and will not provide any testimony adverse to each

other in the SPGJ or any other context, and have synergistic, compatible defenses to any .

eventual possible criminal charge, such an actual conflict or impropriety is unlikely to

ever erupt. But in that unlikely event, there is no reason (and the FCDA has articulated

none) that such an issue cannot and should not be properly addressed by trial counsel

and, if necessary, the trial judge at that time.

       Even on this limited record, however, there is good reason to believe that these

necessary predicates to the FCDA's theory of disqualification will not :unfold in the

manner theorized by the FCDA. The fundamental (but incorrect) assumptions that

underpin the FCDA's entire motion are that some of the jointly represented nominee

electors can make claims against each other, see FCDAMotion at 2, 11, 13; that they have


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or can provide incriminating information about any of the •other jointly represented

dients, see FCDA Motion at 15;
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                                                                                         As set forth herein, all of these

assumptions are incorrect, and the FCDA has presented no evidence substantiating its

incorrect speculation.                        Georgia law does not permit the FCDA to strip the nominee

electors of their chosen legal counsel, especially at the investigatory stage, simply because

the FCDAwrongly speculates that a crime has been committed and/ or that these jointly

represented individuals can provide incriminating information about the other jointly

represented clients as it relates to this (nonexistent) crime. Not only is the FDCA's bare

speculation legally insufficient, but it is also simply wrong.

        For much of these same reasons, the FCDA's speculative assertion that counsel for

the jointly represented nominee electors "cannot even advise any of their 11 clients about

any deal that might be proposed by the District Attorney to secure their testimony_

                                              without stepping directly into a mess of serious ethical concerns"

is also wrong as a matter of law. This assumption is based upon the FCDA's incorrect

presumption of the nominee electors' guilt and the incorrect presumption that any of the

jointly represented nominee electors have incriminating information to provide about any

other jointly represented nominee elector. As established, these assumptions are

unsubstantiated and incorrect.

        The sole case relied upon by the FCDAin support of this argument, Heidt v. State,

is inapposite for a number of reasons. First, Heidt involved disqualification at the post-

indictment, trial stage of a criminal prosecution where the operative facts informing the

conflict analysis had occurred and were known. Second, the disqualification held not to


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be an abuse of discretion in Heidt was expressly based upon the Court's obligation to

protect the defendant's Sixth Amendment right to conflict-free counsel at trial, id. at 346-

47, a right that the FCDA concedes is not yet implicated in this pr~-indictinent

investigation. Third, under the facts in that case, the jointly represented clients had

consented to the representation, but, unlike here, their interests and defenses were not,

in fact, aligned: one client could incriminate the other, and she chose to do so by testifying

against him at trial in exchange for her plea deal. Id. 18 Representing both clients under

these specific circumstances would have run afoul of Rule 1.7(a)'s prohibition against

simultaneous representation of clients who have claims against each other and otherwise

rendered the attorney unable to adequately serve the interests of both client. Id.

                               Other,_courts have recognized that under facts more aligned with the facts here,

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do not create an actual conflict. For example, there is no actual or.potential conflict where

one jointly represented client cannot provide incriminating testimony against·another,

see, e.g., Shelnutt, 289 Ga. App. at 529-30 (no actual or potential conflict when defenses

are aligned and require· no finger pointing or blame shifting); Burns, 281 Ga. at 339

(same).


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18 The Court of Appeals in Heidt also noted more than once that the attorney at issue was simply assisting

the defendant's lead or main counsel in the defense. As a result, the prejudice to the defendant was unlikely
to be as significant as removing the defendant's counsel altogether.


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                                                                                                                                   Perry, 314 Ga. App. at 580-82 (2012) (outlining

factors to be considered in assessing conflict in the context of cross-examining former

client); Rescigno, 306 Ga. App. at 613(1) (no disqualification in the absence of a reason to

believe that confidential information acquired from former client would be of use to the

currently represented client).

                       And even if the FCDA were to indict some of the jointly represented clients and

make plea offers, such offers to jointly represented. clients would not create an actual

disqualifying conflict unless and until such an offer is accepted and would require

incriminating testimony against the jointly represented client who was not offered or did

not accept a plea offer. See, e.g., Abernathy, 278 Ga. App. at 585 (no conflict when plea

offer was declined and co-defendants' defenses were not antagonistic). Plea offers to

jointly represented indicted co-defendants also create no actual conflict of interest unless

it can be established that their joint counsel could not negotiate such plea offers for both

without prejudicing either. Tolbert, 298 Ga. at 153-54. And even where                                                                                                                                                                                                                                                                 plea

offers do create an actual conflict of interest, that conflict can be waived by the jointly

represented clients' informed consent. Abernathy, 278 Ga. App. at 585.
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and the jointly represented clients believe that allowing the SPGJ and the public to hear


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the truth about what occurred on December 14, 2020                                                                                                                                                                                                                                                                                                                                                                               -- that no crime occurred or could

have occurred, that they were acting on advice of counsel and in conformity with

established precedent, that their ballot was contingent and provisional, and that none of

the Republican nominee electors did anything improper or illegal - would inure to the

benefit, not detriment, of all of the Republican nominee electors.



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       D.     The Additional Information Proffered in the Motion Does ·Not
              Establish An Actual or Potential Conflict.

       In the Motion, the FCDAprovides twelve additional "facts" that it has "developed"

that it claims are "material to demonstrating a conflict of interest" in the joint

representation. See FCDA Motion at 7-10. Other than the bare recitation of these alleged

facts, however, the Motion makes no attempt to explain how or why these facts could or

do create any actual or potential conflict in the joint representation, which is the FCDA's

burden to provide. And, for the same reasons set forth above, these aUeged "facts" simply

cannot and do not implicate any conflict of interest, much less a disqualifying and/ or

unwaivable one.

              1.   Incorrect allegations by the FCDA.

       Several of the twelve statements are simply incorrect. For example, Ms. Debrow

and Ms. Pierson's law firms were not hired by the Georgia Republican Party (Statement

No. 1); they were hired individually by every jointly represented client. The Georgia

Republican Party has agreed to pay for the services of Ms. Debrow an~ M~. Pierson's law ..

firms to individually represent these clients. But, as addressed in greater detail herein, as

demonstrated by the engagement letters specifically addressing these matters, and as is

completely typical when a third party agrees to pay for the legal fees and services for

various individuals involved in an investigation or litigation, the Georgia GOP serves

merely as the payor. It has no substantive or 1other rights to any information or influence

in the representation, nor has the Georgia GOP or its officers attempted to interfere or

influence the legal representation in any way, and the FDCAhas not argued that it has.




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       Contrary to the affidavit, Shawn Still was not the Secretary of the Georgia

Republican Party on December 14, 2020 (Statement No. 3). In fact,-Shawn Still has never

been the Secretary of the Georgia Republican Party.



                                                                                        As

explained in greater detail in the nominee electors Motion to Quash and Disqualify

(Exhibit A), because of the judicial challenge pending in Fulton County Superior Court

challenging the 2020 presidential election results and, therefore, challenging which slate

of electors for the electoral college were the correct ones, the certificates provisionally

signed by the jointly represented electors were no falser than the ones signed by the

Dem9cratic elector nominees on that same day. The validity of both electoral slates was

contingent upon the as-then-undecided outcome of the pending judicial challenge.

       In other words, because the very issue that would be decided in the judicial

challenge was which presidential electoral ballot were the valid one, the filing of that

challenge rendered both the Republican and Democrat electoral ballots executed on

December 14, 2020    contingent - contingent upon the outcome of the Fulton County

judicial challenge, just like the ballots executed by both parties in 1960 in Hawaii when a

judicial challenge was pending there. Had the judicial challenge been successful, a fact

that was not and could not be known on December 14, 2020 and an issue that was never

decided by the courts on the merits, then the Republican electoral ballot would have been

the correct one to be counted by Congress on January 6, 2021, and the Democratic

electoral ballot would have been rendered invalid. As explained in greater detail in the

Motion to Quash and Disqualify, this is not and cannot be the law. Instead, both federal

and state law protect the actions taken by both the Republican and Democrat nominee


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electors on December 14, 2020 to preserve the rights of both sets of electors until the

outcome was judicially determined or until the matter was sent to Congress on January

6, 2021 for its adjudication. Neither set of ballots or certificates were "false," and the

continued suggestion that they are is nonsensical in general and even more so in th_eface

of the precedent for such actions and the contemporaneous evidence of the ballot's

provisional nature on the very day and time it was executed.

           Also in error is the Motion's assertion that David Shafer "caused" various

documents to be sent to the President of the U.S. Senate, the U.S. Archivist, the Georgia

Secretary of State, and the Chief Judge of the U.S. District Court for the Northern District •

of Georgia (Statement No. 9). If it were true, however, it would not be incriminating for

much the same reasons as above and would create no conflict. In reality, Mr. Shafer did·

not send any of these documents or request anyone do so The entire process was

managed by attorneys and staff working at the direction of attorneys.
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process to appoint alternate electors in the event of the absence or inability to serve of a

previously nominated elector is statutorily provided in O.C.G.A. § 21-2-12,19 and that

statutory process was followed on December 14, 2020


19   This statute provides as follows:
           If any such presidential elector shall die, or for any cause fail to attend at the seat of
           government at the time appointed by law, the presidential electors present shall proceed
           to choose by voice vote a person of the same political party or body, if any, as such
           deceased or absent presidential elector, to fill the vacancy occasioned thereby; and
           immediately after such choice the name of the person so chosen shall be transmitted by the
           presiding officer of the college to the Governor, who shall immediately cause notice of his
           or her election in writing to be given to such person. The person so elected, and not the
           person in whose place he or she shall have been chosen, shall be a presidential elector and
           shall, with the other presidential electors, perform the duties required of them by the
           Constitution and laws of the United States.


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short, all 16 of the nominee electors who met and acted on December 14, 2020 were

lawfully nominated electors under the applicable Georgia statutes. 20 The factual

distinctions between how or when the nominee electors became nominee electors is not

material or relevant to any potential criminal liability, and the FCDA has not even

attempted to explain how it could be or how this alleged but incorrect "fact" has any

releyance to an actual or even potential conflict of interest among the jointly represented

clients at this (or any other) stage of these proceedings.


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-                                       Various additional communications exist beyond what the DA has described

(none of which are relevant to disqualification or in any way incriminating).                                                                                                                                                                                                                                                     More

importantly, however, the communications alluded to by the FCDA

definitively show that all of the jointly represented electors served as nominee electors on




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on December 14, 2020 is incorrect. As outlined in detail in the Motion to Quash and Disqualify (and as
available as a matter of public record), the Georgia presidential election was subject to a pending judicial
challenge in Fulton County Superior Court until at least January 6, 2021 when Congress certified the votes,
and the case was rendered moot. The presidential election in Georgia was not, as a matter of law, at least,
"over" by December 14, 2020, and the pending lawsuit directly challenged which set of presidential electors
were the correct and accurate ones for Georgia. It is true that the voting was complete by that time, but that
is not the end of the matter under unambiguous Georgia law. As provided by Georgia law, the certified
·results were being challenged in Fulton County Superior Court. Until that challenge was decided on the
merits (which it never was) or until it was rendered moot on January 6, 2021 when jurisdiction moved to
Congress to adjudicate and count the electoral ballots, the election results in Georgia simply were not final
as a matter of law. And, in any event, the FCDA has not even explained, much less met its burden to
establish, that these factual differences are material to any theory of criminal liability or that they would
require any of the jointly represented nominee electors to have antagonistic, non-aligned defenses to any
such charges.



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 December 14, 2020 based upon the same material information and for the same reason

 - to protect the right of the State of Georgia to have a valid presidential electoral ballot if

 the then-pending judicial challenge to the election were successful. This rationale was the

 only one provided to Mr. Shafer by his attorneys in the pending Fulton County lawsuit

 and by lawyers for his co-plaintiff, Donald Trump. This is the also the only rationale that

 was shared by lawyers and others who coordinated with the other Republican nominee

 electors and alternate electors regarding casting a provisional ballot on December 14,

 2020,   and it is the only rationale Mr. Shafer articulated to the few nominee electors who

 reached out to him with questions once they had been contacted by campaign officials.21

 This rationale        is also the one reported                 by the press that             day, see, e.g.,

 httus://www.fox5at1anta.com/video/88o535,                          and the one that David Shafer and


 21 The FCDA insinuates, but again does not directly say or in any way substantiate, that David Shafer and
  perhaps other high-placed leaders in the Georgia Republican Party were privy to and/ or party to other plans
  by the Trump campaign unrelated to the pending judicial challenge. This insinuation is categorically false,
  and no evidence can or does support this speculations. Indeed, as the documents that Mr. Shafer himself
  turned over to the January 6 Committee and voluntarily provided to the FCDA prove, Mr. Shafer was
  specifically told by the attorneys representing him in the Fulton County judicial challenge and members of
  the Trump campaign that the purpose of executing the provisional Republican electoral ballot on December
  14, 2020 was to ensure that there was an available remedy (a Republican electoral ballot) if the judicial
  challenge to the presidential election were successful. To the extent that there is any truth to media reports
  that certain high level members of the Trump team (Mr. Eastman, Mr. Giuliani, et al.) developed a different
  plan to, among other things, attempt to convince Vice President Pence to count these contingent
  presidential electoral slates as the valid elector slates despite the lack of any successful judicial ruling, such
  a plan was reportedly conceived in late December 2020, well after the elector nominees executed their
  provisional ballots. To the extent these reports are accurate (which the nominee electors have no way of
. knowing), the nominee electors did not and could not have had any involvement in or knowledge of any
  such plan, as it was not even alleged to have been conceived until several weeks after the GOP electors had
  completed their contingent electoral slates on December 14, 2020, and, in any event, it was never disclosed
  to or discussed with the nominee electors at any time. Indeed, John Eastman himself publicly confirmed
  on December 16, 2020 that the limited and legitimate purpose of the provisional Republican electoral slates
  was to preserve a remedy for pending judicial contests: "We have historical precedent here, and in each of
  these states, there is pending litigation challenging the results of the election. If that litigation proved
  successful, then the Trump electors, having met and voted, would be able to have those votes certified and
  be the ones properly counted in the joint session of Congress on January 6" available
  at https://www.ntd.com/john-eastman-explains-lhe-historical-precedents~on-dueling-
  electors 540953.html (December 16, 2020) (emphasis added). If some other plan existed or was later
  developed at the higher levels of the Trump campaign regarding the use of the provisional Republican
  presidential electoral ballots for any purpose other than preserving a judicial remedy, none of the jointly
  represented nominee electors were aware of, privy to, or involved in it.



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other Republican nominee electors provided in public statements to the press and on

social media on December 14, 2020.                      In sum, nothing in these email communications

creates any inconsistency between the jointly represented nominee electors or would

cause them to have antagonistic, incompatible defenses to any eventual charge. They

engaged in the same material, lawful conduct for the same material, lawful reason.

                2.   Publicly available and non-incriminating facts.

        Several of the facts "developed" by the FCDA investigation are a matter of public

record and have been since before the inception of this investigation. For example, it is

no secret that David Shafer is, and was on December 14, 2020,                                  the Chairman of the

Republican Party (Statement No. 2); that Mr. Shafer notified all of the electors of their

option to be represented by Pierson Law at the Party's expense

David Shafer attended and convened the meeting of the nominee electors on December

14, 2020                         ; 23   that Mr. Shafer communicated with some of the nominee

electors about attending the December 14, 2020 meeting in response to their inquiries

about the same                              ; 24   that David Shafer and Shawn Still, as the Chairman



22 The FCDA again implies, but does not affirmatively allege, that Mr. Shafer's communications with some
of the other electors regarding legal representation is somehow problematic. The opposite is, in fact, true.
The Georgia GOP passed a resolution for the Party to pay for the legal services of tl:iepresidential nominee
electors (the vote from which Mr. Shafer recused himself). Mr. Shafer notified the other nominee electors
of the availability of these paid-for legal services but in no way attempted to unduly influence anyone to
sign up with Pierson Law or The Debrow Firm or not to hire their own counsel, and no evidence even
suggests to the contrary. Indeed, several of the electors did just that, and the electors who have signed up
with Pierson Law and The Debrow Firm are very satisfied with their representation and strenuously object
to being involuntarily separated from their chosen counsel. As discussed below, each have been individually
and fully advised in writing and in personal conferences with their attorneys (and some with independent




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counsel) about all of information required by the Georgia Rules of Professional Responsibility and have
executed individual informed consent to the continued joint representation.
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and Secretary of the December 14, 2020        meeting, signed certain publicly available

documents relating to the provisional Republican electoral ballot (

I); and that Mark Amick and Cathy Latham testified in public legislative hearings in the

Georgia Senate about alleged voter fraud (                        ). The FCDA offers no

explanation as to how these publicly available facts are or could be material to any alleged

criminal activity or future charge. More importantly for the purposes of this particular

motion, the FCDAprovides no argument, explanation, or authority as lo how any of these

facts could possibly create a conflict, much less a disqualifying or unwaivable conflict,

among the jointly represented electors.

         The conflict analysis under Georgia law for joint representation is not whether

there are immaterial factual differences between the potential defendants but instead

whether their potential defense(s) to any potential charges are synergistic and

compatible. As a result, the FCDA's identification of some alleged factual differences

between the jointly represented eleven nominee electors, even if they were accurate, are

immaterial to the conflicts analysis under Georgia law. None of these factual allegations,

even if true (many of which the FCDA has not substantiated and cannot substantiate),

change the eleven nominee electors' unified claim of innocence and that no crime was or

could have been committed by them or any of the other electors. Nor would such factual

allegations, even if true, require any elector to "finger point" or shift blame to another

jointly represented elector to defend him or herself from false allegations of criminal

wrongdoing, and the FCDA provides no argument or substantiation that they would.

   IV.      Informed Consent and Waiver.

         As the FDCA has conceded and Georgia courts have confirmed, the supposed

conflicts of interest that it has raised are waivable if proper informed consent is provided
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by the clients. Here, the issues involving conflicts of interest have been fully vetted with

each of the individual clients repeatedly, and each has expressed their strong" desire to

remain in the joint representation and provided their informed consent to continue in the

joint representation in writing.

       By way of background, in April 2022,       Ms. Pierson was approached about the

possibility of representing the Republican nominee electors from the 2020 election in the .

context of the FCDA's investigation. Ms. Pierson agreed to the representation, and the 16

Republican nominee electors were notified that if they wanted individual legal counsel in

light of the FCDA's investigation, Ms. Pierson was available to consult with them and, if

they so chose, to represent them. Of the sixteen Republican Party nominee electors,

eleven chose to hire Ms. Pierson as their counsel, and each of the eleven signed separate,

individual engagement letters with Pierson Law. In turn, Pierson Law, as permitted by

the engagement letter with each client and in consultation with the eleven clients,

retained Kimberly Bourroughs Debrow of Strickland Debrow LLP, formerly Debrow Law,

P.C., ("Strickland Debrow") as co-counsel.

       At the outset of the joint representation, counsel explained in the engagement

letter, in email communications, and in telephone conferences with the clients the

Georgia Rules of Professional Conduct regarding potential and actual conflicts and

required each nominee elector to provide affirmation that they understood those

rules. Further, a Statement of Client Policies was provided as part of CounseVs:

engagement letter, which outlines in pertinent part additional terms of the engagement

as it specifically relates to actual or potential conflicts of interest. Each potential client

was required to affirm in advance of the beginning of the representation that they have

no legal or ethical conflict with any of the other 16 individual nominee electors whom


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counsel represents or even may represent, including any information that could

incriminate any of the proposed clients. Each client made this affirmative representation

specifically and individually by email to counsel and by signing their respective

engagement letters and Statement of Client Policies.                                                                    Each client also agreed to

iITI.mediatelymake counsel aware of any actual or potential conflicts if any arose during

the scope of the joint representation.

                The engagement letter also explains that, although the Georgia Republican Party

is paying for the clients' legal fees and expenses in connection with their representation,

the payment is subject to Rules 1.82 s and 5.4(c) 26 of the Georgia Rules of Professional

Conduct. With great detail, the letter explains these rules and expressly states that the

payment of attorney's fees and expenses by the Georgia Republican Party will not cloud

or influence counsel's professional judgment and obligations to each respective client.

And, as a factual matter, the fact that the Georgia GOP is paying for these services has had

no impact on counsel's representation, nor would it ever be allowed to do so.


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2   s Rule 1.8 provides as follows:
                A lawyer shall not accept compensation for representing a client from one other than the
                client unless: (1) the client consents after consultation; (2) there is no interference with the
                lawyer's independence of professional judgment or with the client-lawyer relationship; and
                (3) information relating to representation of a client is protected as required by Rule 1.6.
26      Rule 5-4(c) provides as follows:
                The lawyer shall not permit a person who recommends, employs or pays the lawyer to
                render legal services for another to direct or regulate the lawyer's professional judgment in
                rendering such legal services.
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          Despite the absence of any                            actual conflict of interest,

on August 1, 2022, counsel sent to each of their jointly represented clients additional

written     communication     outlining   all recent   developments   ansmg     from    the

communications with the FCDA, including a thirteen-page, single-spaced memo again

explaining all of the information required by the Georgia Rules of Professional Conduct,

including but not limited to Rule 1.7. Both in writing and during lengthy follow-up

telephone conversations with each individual client, counsel explained to each elector the

rules relating to actual and potential conflicts of interest and how those apply or might


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apply to these facts,   '   s
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-;       the advantages, disadvantages, and alternatives to the joint representation; and

the right to consult with independent counsel before deciding whether to continue in the

joint representation. Once again, each nominee elector was specifically asked to confii·m

the accuracy and correctness of the facts relayed to counsel and, if there were· any

discrepancies or changes in their recollection, to notify counsel immediately. After having

been advised by counsel about their rights and responsibilities under the Georgia Rules

of Professional Responsibility in writing and in individual teleconferences, and having the

opportunity to consult with independent counsel (which some did), each of the elector

clients chose to continue in the joint representation and executed to that effect.

        On August 5, 2022, counsel notified the FCDA and this Court that this laborious

process had been completed in full accord with the Georgia Rules of Professional Conduct

and that each of the jointly represented clients had decided to ~tay in th~ jointly

representation. Despite these facts, the FCDAhas persisted in bringing this Motion.

        In sum, even if there were actual or potential conflicts in the joint representation

at this stage in the process, which there are not, each jointly represented client has been

fully apprised of the necessary information to make an informed choice to waive any such

conflicts and remain in the joint representation. Such waivers, when properly executed,

are enforced by the Georgia courts, especially, as here, in the absence of any evidence that

counsel for the jointly represented clients cannot adequately represent each of them in

the matter. Even if this Court were to determine that there were any conflict here, the

clients have knowingly and intelligently waived any such conflict and should be allowed

to retain their chosen counsel of choice.




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                                      CONCLUSION

      The FCDA's motion fails on its face, and the eleven nominee electors should not be

involuntarily separated from their chosen counsel. The law required the FCDA to asse1t

and substantiate that it had standing to seek Pierson and Debrow's disqualification, an

obligation it failed to meet. The law also required the FCDA to substantiate an actual

conflict or impropriety sufficient to justify the extraordinary and sparingly granted

remedy of disqualification, and it has provided only speculation, conjecture, and

inapposite authority.

    The law presumes that Ms. Pierson and Ms. Debrow - officers of the court and

respected members of the Bar in good standing - have adequately determined whether

they might ethically undertake the joint representation of the nominee electors. And the

l~w shields that determination from intrusion without strong and supported justification.

Otherwise the temptation to deselect one's oppo~ent for strategic reasons would be too

great. The FCDA's Motion to Disqualify should be denied.



Respectfully submitted,



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Atlanta, GA 30305                          kbdebrow@stricklanddebrow.com
hpierson@piersonlawllc.com                 470-683-4402
404-353-2316

                        Counsel for Eleven Nominee Electors




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  Case 1:23-cv-03721-SCJ Document 1-131 Filed 08/21/23 Page 43 of 83




                            CERTIFICATE OF SERVICE

      I hereby certify that I have filed the foregoing Opposition        to Motion     to

Disqualify   with the Clerk of Court of the Fulton County Superior Court and that date-

stamped copy will be hand-delivered to the Fulton County District Attorney's Officetoday.

       Respectfully submitted this the 26th day of October, 2022.



                                         /s/Hollu Pierson
                                         Holly A. Pierson
                                         Georgia Bar No. 579655




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                       EXHIBIT A
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      Case 1:23-cv-03721-SCJ Document 1-131 Filed 08/21/23 Page 47 of 83




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     Case 1:23-cv-03721-SCJ Document 1-131 Filed 08/21/23 Page 56 of 83




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                        EXHIBITA
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  D.istrictAttorneyFaniWillis
  .FulfonCounty1)IStrictAttorneys Office
  136 Pryor StSW 3rd Floor      •
  Atlanta; GA.30303            ••
           Re:        TargetStatus oJGeorgiaGOPNomineeElectorsaridthe Fulton
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  Ii9mi11eeelect9rs (the "GOP elect.ors'~)from the 20~0 Election,2 all of whom have
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  (the "Grand Jucy") at the end of J¥Jy. For all.of the fa¢tua1. and Jegal
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  clients have all accepted our advice to exe:rcisetheir applicable sta:te and, federal
  constitµtional@ci statutory rights not to give t~timo~y. Custoniacy pr~ctice and
  :e@cal rule~ dictate that they s4quld,  th~_refore,be ex~usedfrotj:ltheir appear~n~e
  before the 'Gr~nd Jury. We,request that they be.so ElXCUSed.

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   investigative teama that e~ch -of our u clients were witnesses; '.n,ot~ubjects or
   ta_rgets·,of your ;investigation into the 2020 election~ On the basis pf those
   tepI"esentations, we worked cooperatively with your office:in its investigation and
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   ~greed Jo presep.t our clients for:voluntaryinterview~.

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             of victorywas.small.Hawaii,throµgh its Governcfr,certifiedthe votes
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   an'electoral slatefQt thefyt$pective caiididatesthat was transmitted to Congress;
   v\thenthe recountwas complet~d,·k~nnedywas'the actual wmn~r,,apdthe stat~_
   C!ollrtdecla,recithat I<e~ecly'hadwc.w:Hawaii.by   113_votes.Beca~~e·theDem..ocra:t
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   the second Wi}driesqay1Il Decenibei:(which ~as Pecen,iber 14in 2020) fo. cast th~ir votes      Jor
  'President and Vice President of the United States. SeeU.S. CONST.art. II; § 1, .cl.-4; U.S. CONST.-
   Am:endmenf12i 3 U.S.C.•§~:7~8);                                         •• "         .,

   Inthe hotly contested Ptesideri:tialelection oBwoo; tliis same'Hawaii,prececieritand the concept
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  ~{tivq ~I~ciorslat~agaili reclrlye,cfs°JgJ1ificant atterition. ~ustice'~teie~ }it~ ~tl{app~oval_tiJ.e
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  imdecided ~t the time _"eled:ors   'a~erequired by the Constitution.and federal law to execute 1:heir
  electoral ballots in his dissent iii Bush ti. Gori stating a;sfo}lows:

           ln the .'interest of' Jiµality; hQweyey, the'. lllajori.ty ,effectlv,ely,6rd~rs gi_e·
           disenfranchisement of an unknown .number of voters w~9se ballQts):eveal             their'
           interi.t:...,.and                               state law~biit were
                           are theref~~elegal votes lllldEir                      for·:~0mereasori
           rejected by bajio~~fotui:tiJig µiachines.)t  cloessoon·the basis of tlifdeadlines'     set
           forth ~iiiTitle.'3 of the United .states Q6de:Ante,at 532. But,.as [,have_a~ready
           noted, tb,dsejifovisions'   merely provid'erj.Liet of decis:ib.n
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           Florjdq.v9ter~oft!J¢irrig-1J.t     t~eirv~tes counted.As the majority Iiotes/'[a]
Case 1:23-cv-03721-SCJ Document 1-131 Filed 08/21/23 Page 72 of 83




        ..The Ua.waii   precedent is instructive here. As: in the 2020 election 1n
  Geor.gi~,.th~ pre.sidential~le~C>iiin ~awaiijva,scontest~q.thrqtigl(li,tigatiorj.8:fid
                                                                                       ~.
 detE!r~ation of the· fuial results had not been.,made by .the date upon which
 federallaw mancl~testhat presidential electors mustexecute their;electoral votei
 Asiil.Georgia in the 2020 =electioi;i,   the .pr~dentiai electipn in-H~wa#·had been
  certifiedby the Sfat~for µt~_apparentw.j.tiiier(Nix9n)de§pit~:fugQIIgoipgejectlcm.
  di~pQ.tes_and co11t~st$.But pe~µse th~ fed~ral deadl4L~for pre~idel)tfalelectors.to
 vote is set in stone (the ~stMonday aftei•the seconp.Weclnesciay<in       Deceniber)
  and because the election dispute liad IIqtbeen finally res_oivedl:>ytpat tim_e,•the
  pi"~idential electorsJor both the pfrtatjye winner ffiixqrt) arid for the candidate
  cont~sting the election r~.u\!S (Kennedy) met on the date requited, 1:>yth~
  Constitution and federal law '(Dec. 19, i960) to execute electoral votes for their·
 respective candidates to preserve     the 'elect_oralvotes for whomever Hie ultimat¢
  winn:erof the election contests was.• In Hawaii, the ultim~te winner turned out fo
 be Ken,nedy,and only because the elector :riominees·forkenneclyhaci taken the
 .federally required step of e?Cecutingan .electoral sfat~ for Ketuiidy ·(even when
  Hawaii had already certifieclits election fC>rNixori) did CongrE$s-haveele¢:<>rhl.
  votes for K_enrtedy that it cottldthen cou~t. Had the K~xuiedyelector)iontlnee$.riot'
 '.executedtheir provisional elector~ votes on December 19, 1961 ~d transmitted
  fu~m to Congress, Kennedy would have wonthe S~te of Hawaji but stiU l:>een
  deprived of its electoral votes, and the citizens of ·Hawaiiwould :havehad their
  voice in the 1960 presidential election silenced. • •                 •

          desire for speed is . ~ot a gener~ exc;-q,s_e
                                                     for ign9;ri~g equal ·,prqtectiqn
          guarantees. "·Ante, at 532.

  Bush v. Gore, 531 U.S. 98, 127 (2000) (Justice Stevens,.dissenting) (emphasis added). Arou.ridthis.
  sanie time, DemocratCongresswoman Patsy MinkqfHawaii, the~fwoman;gf               color to serve in .
  th¢ House of Repr~entatives, specificallyrefereijced the Hawaii precedent and aavocated for the
  provision of two elector slates froni'Florida to Congress as follows: •

          The [Hawal;i] precedeilt pf 40 years      ago sµggests t4e means   •for :resolving·the
          electoaj disputein Florida:. count the votes.tinder the supervisionof the court
          pursuant to Florida la\\l; both slates of el1?ctorsmeet on December 1.8-     and sen,d
          their certificates ·to C<:ingress;tlie Governor of .Florida send a. subs~uent
          ~ertific,ateof election based. Oil the c;lecision.ofthe count supervised by the court
          acccimp~~d by the deci~fon.oft:he.c_ourt;aild Qohgress~c.ceptsthe slate,o( electors
         •named'pytheGo:vemorin,hisfinal certifi~_tion:·

          Under thisprocedure Florida n~d riot rush to complete its recount inari._atteqipt.
          fo m:eeturirealistlc deadlines set by the_cciurt·or the legislature. The key ti(l_te_
                                                                                             is .not
          December !-2.or Dec.em.bet18.:I~ts.January 6,the elategn whic~ the e~1tor9} votes
          are counted. As the 1960 experience of Hawaii shows, the Florida re¢ount'dCJesnot
          have to·be oontpleted tint:iljust before the electoral votes are counted:

  Statement ofR.epresentative Patsy~inlc, CONGRESSIONALREcC>RD,         December 13,-2000 (emphasis
  added); •available at ltltDs://w,,{,w.g_ovinfn .gov/eontc11t/pk1~/CRF.C D-.::~Q~ifl::D.!J.!':\Lhtm
                                                                                            \/CRECG-
  "'ooo::'.ut18-!)e.:~6f.ci<.;~2.htm.
                                 ·suffice to say that neither esteemed:SupremeCqurt Justice Stey~ns
  nor Representative           found,_anything improper .or illeg~ with two· slates of c_orilpetm,~
  pr~sid~iitial electors_beingpr~entid to Congr~sin a contested presidential election; indeed; hotli
  endorsed that path as the correct qne.

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  Joftheir,politfoal party's chosen·candidatesancitraris,mtted them. to Congress
   requited by law; thus ensijfirigthatjiq matt~r-howJhe juqfoial ~iltest t<{the
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   op December.14, 2020), the State .of Georgiawoill.d:have ha:dJio presidential
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so t)Rl)ERED this·-._ dayof July,20·22.



                                      Judge..Robert C~LMcBurney
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